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                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

UNITED STATES OF AMERICA       )
                               )
     v.                        ) CR 115-063
                               )
CHRISTOPHER JODALE CUNNINGHAM )
WILLIE WILLIAM SMITH           )
                           _________

                                          ORDER
                                          _________

       The above-captioned Defendants are before the Court charged with one count of

Armed Bank Robbery, one count of Conspiracy to Use One or More Firearms During a

Violent Crime, and one count of Using, Carrying, and Brandishing a Firearm During a Crime

of Violence. (See doc. no. 1.) The Court presumes the liberal discovery policy that the

government has confirmed it is applying in this case has resulted in the resolution of all

discovery issues.   Indeed, neither Defendant alleges any specific inadequacies in the

discovery provided by the government to date, and the government states it has furnished

Defendants with the investigation reports of the Federal Bureau of Investigation, Richmond

County Sheriff’s Office, and the United States Attorney’s Office, excepting attorney and

agent work product. (Doc. no. 38, p. 1.) All known statements by Defendants, as well as

their criminal records, have also been provided. (Id. at 2.) To the extent, if any, a party

believes there are specific inadequacies in the discovery exchanged to date that have not been

addressed, the Court directs such party to confer in good faith with the opposing party and

file, if necessary, a discovery motion and supporting brief within seven days from the date of
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this Order.

       As to the discovery motion filed by the government, it seeks reciprocal discovery

from each Defendant under Rule 16(b) of the Federal Rules of Criminal Procedure, including

a written summary of any evidence either Defendant intends to offer under Fed. R. Evid.

702, 703, or 705. In light of the government’s willingness to provide liberal discovery and

the unopposed nature of the request, the Court GRANTS this motion (doc. no. 37), and any

information not yet furnished shall be provided to the government no later than fourteen days

from the date of this Order.

       SO ORDERED this 31st day of July, 2015, at Augusta, Georgia.




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